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                      Exhibit 2
Case 1:21-cv-00784-HYJ-RSK ECF No. 1-3, PageID.36 Filed 09/10/21 Page 2 of 2
                       LAW OFFICES OF FRANK B. MELCHIORE




  March 13, 2020                                                        MRE/FRE 408 Communication

  Matthew P. Allen, Esq.
  Miller Canfield
  840 West Long Lake Road, Suite 150
  Troy, MI 48098

  Re: MATTHEW MELLEN vs. UBER, et. al
  Dear Mr. Allen:

  On behalf of Matthew Mellen, my office along with Attorney Matthew Cooper of
  Cooper Law, are responding to your March 10th e-mail, and in follow-up to our
  March 3rd call with Mr. Mellen’s Counter-Demand of $1,247,500.00 U.S. dollars.

  We look toward hearing from you.

  Sincerely,
  Frank B. Melchiore / e.s.
  Frank B. Melchiore
  FBM/dns
  Attmnt./Encl.
  cc. UNARC/grv




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                                   email: LAWFM1@gmail.com
